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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                       District District
                                                   __________   of New ofMexico
                                                                          __________

                  United States of America                            )
                             v.                                       )
                       Shaheen SYED
                                                                      )        Case No. MJ 22-1291 JFR
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              please see attached affidavit        in the county of              Bernalillo           in the
                       District of           New Mexico           , the defendant(s) violated:

            Code Section                                                        Offense Description
Title 18, United States Code,                     Except as otherwise provided in this subsection, subsection (b), (c), (f), or (p)
Section 924(a)(1)(A)                              of this section, or in section 929, whoever knowingly makes any false
                                                  statement or representation with respect to the information required by this
                                                  chapter to be kept in the records of a person licensed under this chapter or in
                                                  applying for any license or exemption or relief from disability under the
                                                  provisions of this chapter;



         This criminal complaint is based on these facts:
See the attached affidavit of ATF Special Agent Brenton Hutson, which is incorporated by reference




         ✔ Continued on the attached sheet.
         ’


                                                                                                 Complainant’s signature

                                                                                       Brenton Hutson, ATF Special Agent
                                                                                                  Printed name and title

Telephonically sworn and electronically submitted.


 Date: August 9, 2022 6:25 pm
                                                                                                    Judge’s signature

City and state:                  Albuquerque, New Mexico                         Hon. John F. Robbenhaar      , U.S. Magistrate Judge




        Print                        Save As...                   Attach                                                   Reset
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Brenton Hutson, being first duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

1. I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF), and have been so employed since January 2020. I am a United States Marine Corps
Veteran, to include one combat deployment, and am also a graduate of the University of Colorado,
holding a Bachelor’s Degree in Nonprofit Management and a Master’s Degree in Public
Administration. I previously worked in the field of human services for approximately seven years,
managing programs designed to assist individuals struggling with homelessness, severe mental
illness, and substance use disorders. I have attended and graduated from the Federal Law
Enforcement Training Center and the ATF National Academy.
2. I have training and experience investigating violations of Federal law. As a result of my training
and experience as an ATF Special Agent, I am familiar with the Federal criminal laws and know
that it is a violation of:

           a. Title 18, United States Code, Section 924(a)(1)(A): knowingly making any false
              statement or representation with respect to the information required by this chapter
              to be kept in the records of a person licensed under this chapter or in applying for
              any license or exemption or relief from disability under the provisions of this
              chapter

3. I am familiar with the information contained in this Affidavit based upon the investigation that
I have conducted, on my conversations with other law enforcement officers or industry operations
investigators who have engaged in various aspects of this investigation and based upon my review
of reports written by other law enforcement officers involved in this investigation. Because this
Affidavit is being submitted for the limited purpose of securing an arrest warrant, I have not
included each and every fact known to me concerning this investigation. I have set forth only
those facts that I believe are relevant to determination of probable cause to support the issuance of
the requested warrant. When the statements of others are set forth in this Affidavit, they are set
forth in substance and in part.

4. Based on my training and experience and the facts set forth in this Affidavit, there is probable
cause to believe that violations of Title 18, United States Code, Section 924(a)(1)(A): knowingly
making any false statement or representation with respect to the information required by this
chapter to be kept in the records of a person licensed under this chapter or in applying for any
license or exemption or relief from disability under the provisions of this chapter.




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                             SUMMARY OF PROBABLE CAUSE

5. On August 8, 2022, myself and SA Alonzo obtained and reviewed ATF Form 4473 Firearms
Transaction Records regarding firearms transferred to ‘Maiwand’ SYED from Federal Firearms
Licensee (FFL) Omni Arms, in Albuquerque, New Mexico, in the District of New Mexico. In a
subsequent interview on August 9, 2022, ‘Maiwand’ SYED explained to me he had changed his
name to Shaheen, largely because it was easier for people to pronounce.

6. One of the ATF Form 4473 Firearms Transaction Records I reviewed reflected the transfer of
two firearms to SYED from FFL Omni Arms on June 11, 2021. One appeared to be described as
a DEL-TON DTI-15 5.56mm Rifle (SN: DTI-S053263). The other appeared to be described as a
Romarm/Cugir WASR10 7.63x39 caliber rifle (SN: 21A188389). In reviewing this record, I
observed that SYED identified his current state of residence and address as 1817 S Ocean Dr. Apt
225, Hallandale Beach, FL 33009 in Broward County. Question 10 is important as Title18 USC
Section 922(b)(3) restricts and provides specific legal direction regarding the sale or delivery any
firearm to a non-FFL residing in a state other than the FFL’s. Thus, box 10 of ATF Form 4473
asks the transferee/buyer of associated firearms to identity their “Current State of Residence and
Address” in order to allow the FFL to determine if they can legally transfer a firearm to the
individual. When an individual provides an incorrect address of residence on the ATF Form 4473,
the FFL cannot make this determination and thus the individual causes the FFL to maintain
incorrect information that is required to be kept in the FFL’s records, which may also be material
to the FFL’s determination regarding the lawfulness of the firearms transfer.

7. On August 9, 2022, I spoke with Federal Bureau of Investigation (FBI) Special Agent (SA)
Willie Creech, station at the FBI’s Miami Field Office. SA Creech advised me he spoke with
members of the board managing the above-referenced address. It was further reported that the
address listed as the current residence of SYED had been occupied by another man for several
years, and that the board did not locate any records indicating SYED had resided at the above-
referenced address.

8. On August 9, 2022, myself and Albuquerque Police Department (APD) Detective Leah Wise
interviewed SYED. During the interview with SYED, I learned that SYED has lived in
Albuquerque, NM since 2016. SYED stated the first residence he occupied was in the area of
Central Ave SE and Western Skies Dr. SE. SYED occupied this residence, with his family, for an
unknown amount of time then he moved to 523 Espanola St. SE. SYED occupied this residence
for approximately one year and then moved to 820 Louisiana Blvd SE. SYED lived at 820
Louisiana Blvd SE for approximately two years then moved to 3513 Crest Ave SE #A where he
currently lives.

                                         CONCLUSION

9. Based on the foregoing facts, I submit there is probable cause to believe Shaheen SYED has
committed violations of Title 18, United States Code, Section 924(a)(1)(A): knowingly making
any false statement or representation with respect to the information required by this chapter to be
kept in the records of a person licensed under this chapter or in applying for any license or



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exemption or relief from disability under the provisions of this chapter. I respectfully request a
warrant be issued for his arrest.



Respectfully submitted,

                                                    __________________________________
                                                    Brenton M. Hutson, Special Agent
                                                    Bureau of Alcohol, Tobacco, Firearms and
                                                    Explosives


       Electronically submitted and telephonically sworn, this 9th day of August,
       2022


       __________________________________
       The Honorable John F. Robbenhaar
       United States Magistrate Judge




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